     Case 2:13-cr-00008-WFN     ECF No. 1409    filed 09/25/13   PageID.5263 Page 1 of 1




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 4
                          UNITED STATES DISTRICT COURT
 5
                        EASTERN DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA,                       No. CR-13-008-WFN-7
 8
                Plaintiff,                         ORDER GRANTING MOTION
 9
                                                   TO MODIFY
10 vs.
11                                                 ☒      Motion Granted
     ASHLEY BRITANY ARREDONDO,
12                                                        (ECF No. 1378)
13                      Defendant.
14         At the September 24, 2015, hearing on Defendant’s Motion to Modify
15   conditions of release, Assistant U.S. Attorney George C. Jacobs represented the
16   United States. Defendant was present with counsel Philip E. Nino.
17         The United States did not object to Defendant’s Motion and deferred to the
18   recommendation of the United States Probation Office.
19         IT IS ORDERED:
20         1.     The Defendant’s Motion, ECF No. 1378, is GRANTED.
21         2.     Defendant shall no longer be subject to electronic monitoring;
22   however her curfew remains in place. The United States Probation Office may
23   change her curfew, at their discretion, based on her work schedule.
24         DATED September 25, 2013.
25
26                             S/ JOHN T. RODGERS
                        UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING MOTION TO MODIFY - 1
